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UNITED STATES OF APIERICA,                           HON.PETER GoSHERIDAN

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               The Judgment in the above-captioned case having been paid in full, the Clerk      of
the United States Court for the District of New Jersey is hereby authorized and requested to

satisfu and cancel said judgment of record for any special assessment, fine and/or restitution

only, as to defendant, Alberto Mora Martinez. This satisfaction ofjudgment does not satisfu any

forfeiture judgment imposed in this case.



                                                     CRAIG CARPENITO
                                                     WITED STATES ATTORNEY

                                                  s/EAMONN O'HAGAN
                                              By: EANIIONN O'HAGAN
                                                  ASSISTANT UoS.ATTORNEY
